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                       IN THE UNITED STATES DISTRICT COURT FOR
                         THE NORTHERN DISTRICT OF OKLAHOMA

   MARILYN PHILLIPS,                             )
                                                 )
                          Plaintiff,             )
                                                 )
   v.                                            )           Case No. 17-CV-547-JED-JFJ
                                                 )
   FARMERS INSURANCE                             )
   COMPANY, INC.,                                )
                                                 )
                          Defendant.             )

                                         PRETRIAL ORDER

         The pretrial conference held before the court on April 4, 2019 at 1:30 p.m. Anthony M.

  Laizure appeared for the Plaintiff. Robert Taylor and William Smith appeared for the Defendant.

  Following the pretrial conference, IT IS SO ORDERED:

  I.     This is an action for: Uninsured/underinsured motorist (UM/UIM) benefits under a policy

  of insurance issued by the Defendant Farmers to Plaintiff Marilyn Phillips.

         The factual basis for Plaintiff’s cause of action is: Ms. Phillips was injured in a car

  wreck on August 27, 2012. The insurance company for the other driver paid Ms. Phillips policy

  limits of $100,000.00. Farmers waived its right of subrogation. Ms. Phillips submitted her claim

  for UM/UIM benefits. Farmers took a sworn statement from both Ms. Phillips and one of her

  treating doctors, James Rodgers, M.D. After reviewing the claim, Farmers paid Ms. Phillips

  $84,165.00 in UM/UIM benefits. Ms. Phillips filed suit for UM/UIM benefits in Tulsa County

  District Court and Farmers removed the case to this court.

         Ms. Phillips claims her injuries and damages exceed Farmers’ evaluation of the claim. The

  factual basis for this claim is Ms. Phillips sustained injuries to both shoulders, both hands, her neck

  and her upper back. Ms. Phillips has had surgery on both shoulders. Farmers agrees that the
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  surgery to the shoulders is related to the wreck. Farmers disputes that the wreck caused a

  permanent injury to Ms. Phillips’ neck and back and a need for future treatment. Ms. Phillips has

  had carpal tunnel surgery to both hands. Farmers disputes that the carpal tunnel injuries and

  surgeries are related to the wreck. Ms. Phillips suffered an outbreak of shingles on her face that

  spread to her right eye and she had to have surgery to her right eye. Ms. Phillips attributes this to

  stress from the wreck and her other injuries. Farmers denies that the shingles outbreak and eye

  surgery are related to the wreck.

  II.       Federal jurisdiction is invoked upon the grounds of diversity of citizenship, 28 U.S.C.

  §1332 (a). Plaintiff is a citizen of the State of Oklahoma. Defendant is a corporation organized

  and existing under the laws of a state other than Oklahoma and has its principal place of business

  in a state other than Oklahoma. The amount in controversy exceeds $75,000.00.

  III.      The following facts are admitted and require no proof:

            A.     The car wreck that gives rise to this action happened in the Northern District of

  Oklahoma, and venue is proper.

            B.     The amount in controversy exceeds $75,000.00.

            C.     Marilyn Phillips is a citizen of the State of Oklahoma.

            D.     Farmers Insurance Company, Inc. is a corporation organized and existing under the

  laws of a state other than Oklahoma and has its principal place of business in a state other than

  Oklahoma.

            E.     On August 27, 2012, Ms. Phillips was a named insured on two automobile

  insurance policies (“the policies”) issued by Defendant Farmers Insurance Company, Inc.

            F.     The policies provide a total of One Million Dollars, $1,000,000.00 in UM/UIM

  limits.



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         G.      The policies were in full force and effect on August 27, 2012.

         H.      Ms. Phillips was in a car wreck on August 27, 2012.

         I.      The other driver in the wreck, Diane Rooker, is 100% at fault.

         J.      Ms. Phillips sustained rotator cuff tears on each shoulder that required surgery.

         K.      Ms. Rooker, the other driver, is an uninsured/underinsured motorist as defined by

  36 O.S. §3636.

         L.      Ms. Phillips’ claim is worth at least $184,165.00.

  IV.    The reservations as to the facts recited in Paragraph IV are as follows:

         None.

  V.     The following facts, though not admitted, are not to be contested at the trial by

  evidence to the contrary:

         A.      EMG studies done in August 2013 and August 2015 confirm that Ms. Phillips had

  bilateral carpal tunnel syndrome.

         B.      The carpal tunnel surgeries performed by Dr. Mokhtee were reasonable and

  necessary.

         C.      Ms. Phillips suffered an outbreak of shingles in October 2015.

         D.      The eye surgery performed by Dr. Economou was reasonable and necessary.

  VI.    The case management conference limitations are: None. Plaintiff’s counsel will ask

  for 30 minutes attorney voir dire. Defendant’s counsel will ask for 30 minutes voir dire.

  VII.   The following issues of law, and no others, remain to be litigated upon the trial.

         A.      Amount of Plaintiff’s damages per OUJI 4.1

         B.      Defendant wants to add the following: “Whether or not Title 23 O.S. Section 61.2

  applies to limit an award of UM/UIM benefits for non-economic loss.” Plaintiff objects to this



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  because the Defendant never plead the statute as a defense as required by Racher v. Westlake

  Nursing Home Ltd., 871 F.3d 1152 (10th Cir. 2017). That decision was rendered on September 28,

  2017, or 530 days ago. Plaintiff sued Farmers on August 28, 2017. Plaintiff has tailored her case

  strategy based on the Defendant’s decision not to raise the cap as an affirmative defense. For

  example, Plaintiff is not calling the other driver as a witness. Had Defendant plead the cap as a

  defense, then Plaintiff would call the other driver as a witness in an effort to show that the other

  driver’s conduct amounted to gross negligence or reckless disregard. In addition, Plaintiff would

  more likely than not made claims for economic damages (cost of past and future medical treatment)

  that she has chosen not to seek in this case due to the Defendant’s decision not to raise the cap. It

  is way too late in the process for Plaintiff to retool her trial strategy and get the necessary witnesses

  and proof lined up. This case was supposed to be tried in June 2018 but was transferred to this

  Court shortly before trial. The parties had already prepared a proposed Pre-Trial Order to submit

  to the Court and the Defendant did not raise the cap in that proposed Pre-Trial Order. The

  Defendant first raised the idea of the cap as a defense at a personal conference between counsel

  that happened on March 7, 2019. Finally, it is not altogether certain that the cap applies in a UM

  case. In any event, for these reasons, the Plaintiff objects to this last minute attempt to amend the

  trajectory of this case.

  VIII. The parties agree the following issues of fact, and no others, remain to be litigated

  upon the trial:

          A.      Whether Ms. Phillips sustained injuries to her hands as a direct result of the August

  27, 2012 wreck, and if so, the nature and extent of same.




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          B.     Whether stress secondary to the motor vehicle wreck of August 27, 2012 decreased

  Ms. Phillips’ immune system, which activated her herpes zoster (shingles), thus requiring medical

  treatment and surgery.

          C.     Whether the August 27, 2012 wreck caused Ms. Phillips to injure her neck and

  upper back, and if so, the nature, extent and permanency of the injuries. Defendant’s object to the

  phrase “and if so, the nature, extent and permanency of the injuries” because the treating doctors

  did not find an injury to her neck or back, and she did not have treatment for those areas.

          C.     The amount of actual damages to fairly and justly compensate Plaintiff Marilyn

  Phillips for injuries caused by the August 27, 2012 wreck taking into account all elements of

  damages to which she is entitled under Oklahoma law.

          D.     Whether Ms. Phillips will require future medical treatment for injuries caused by

  the August 27, 2012 wreck.

  IX.     The following exhibits to be offered at the trial together with a statement of all

  admissions by and all issues between the parties thereto are as follows:

   No.      Plaintiff’s Exhibits                                         Objection
   PX1      MedCenter Records August 08/27/2012
   PX2      Warren Clinic Records 09/14/2012 – 02/10/2015
   PX3      St. Francis Hospital/Physical Therapy 09/1/2012 – 08/07/2013
   PX4      Dr. James Rodgers Records 07/25/2013 – 12/07/2015
   PX5      Central States Orthopedic Records Office Notes and Physical FRE 401, 402 to
            therapy records: 06/17/2014 – 03/01/2018                     records after
                                                                         4/30/2015.
   PX6      Physical Therapy of Tulsa Records 05/29/2014 – 07/03/2014
   PX7      Oklahoma Surgical Hospital Records 07/01/2014 – 11/05/2014
   PX8      Neurological Center of Oklahoma Records 08/17/2015
   PX9      Tulsa Bone & Joint Records 09/13/2016 – 04/11/2018           FRE 401, 402 for
                                                                         records in 2018.
   PX10     Union Pines Surgery Center Records 09/14/2016 – 11/28/2016
   PX11     Dr. Matthew Roberts Records 09/29/1983 – 12/01/2017
   PX12     Dr. John Saurino Records – 11/24/2015
   PX13     Dr. Anthony Economou Records – 02/04/2016 – 08/23/2016
   PX14     Pinnacle Specialty Hospital Records 02/10/2016

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   PX15   Dr. Christina Kendrick Records 04/25/2014 – 04/18/2018   Object to any
                                                                   records other than
                                                                   5/4/2016 and
                                                                   5/25/2016 as not
                                                                   being produced.
   PX16   6 Photos of Marilyn Phillips right hand                  Federal Rules of
                                                                   Evidence      Rule
                                                                   403; objection to
                                                                   the number of
                                                                   photos,     unfair
                                                                   prejudice
                                                                   needlessly
                                                                   presenting
                                                                   cumulative
                                                                   evidence
   PX17   8 Photos of Marilyn Phillips left hand                   Federal Rules of
                                                                   Evidence      Rule
                                                                   403; objection to
                                                                   the number of
                                                                   photos,     unfair
                                                                   prejudice
                                                                   needlessly
                                                                   presenting
                                                                   cumulative
                                                                   evidence
   PX18   13 Photos of Marilyn Phillips left shoulder              Federal Rules of
                                                                   Evidence      Rule
                                                                   403; objection to
                                                                   the number of
                                                                   photos,     unfair
                                                                   prejudice
                                                                   needlessly
                                                                   presenting
                                                                   cumulative
                                                                   evidence
   PX19   4 Photos of Marilyn Phillips right shoulder              Federal Rules of
                                                                   Evidence      Rule
                                                                   403; objection to
                                                                   the number of
                                                                   photos,     unfair
                                                                   prejudice
                                                                   needlessly
                                                                   presenting
                                                                   cumulative
                                                                   evidence



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   PX20   12 Photos of Marilyn Phillips face after shingles and before Federal Rules of
          surgery                                                         Evidence      Rule
                                                                          403; objection to
                                                                          the number of
                                                                          photos,      unfair
                                                                          prejudice
                                                                          needlessly
                                                                          presenting
                                                                          cumulative
                                                                          evidence
   PX21   9 Photos of Marilyn Phillips after eye surgery                  Federal Rules of
                                                                          Evidence      Rule
                                                                          403; objection to
                                                                          the number of
                                                                          photos,      unfair
                                                                          prejudice
                                                                          needlessly
                                                                          presenting
                                                                          cumulative
                                                                          evidence
   PX22   Central States Imaging Records 06/17/2014 – 03/01/2018          FRE 401, 402 to
                                                                          imaging in 2018
   PX23   Envision Imaging Records 05/20/2015
   PX24   St. Francis Imaging Records 04/19/2013 – 07/25/2013
   PX25   Transcript of video deposition of Dr. Mokhtee
   PX26   Transcript of video deposition of Dr. Fox
   PX27   Article: Peripheral Nerve Entrapment Caused by Motor Vehicle Hearsay FRE 801,
          Crashes, Journal of Trauma, 1994; Vol. 37, No. 2, pp. 191-194   802, 803;
                                                                          Relevance FRE
                                                                          401, 402;
                                                                          Prejudicial FRE
                                                                          403; Not the basis
                                                                          of expert opinion
                                                                          FRE 702,703
   PX28   Article: Carpal Tunnel Syndrome and Motor Vehicle Accidents, Hearsay FRE 801,
          1996; JAOA, Vol. 96, No.4, pp. 223-226                          802, 803;
                                                                          Relevance FRE
                                                                          401, 402;
                                                                          Prejudicial FRE
                                                                          403; Not the basis
                                                                          of expert opinion
                                                                          FRE 702,703
   PX29   Article: Acute carpal tunnel syndrome in trauma, Eur. J. Plast. Hearsay FRE 801,
          Surg. (2012) 35:639-646                                         802, 803;
                                                                          Relevance FRE
                                                                          401, 402;

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                                                                              Prejudicial FRE
                                                                              403; Not the basis
                                                                              of expert opinion
                                                                              FRE 702,703
   PX30     Article: Herpes Zoster and Postherpetic Neuralgia: An             Hearsay FRE 801,
            Examination of Psychological Antecedents, Innov Clin Neurosci     802, 803;
            2014 May-Jun; 11 (5-6): 31-34                                     Relevance FRE
                                                                              401, 402;
                                                                              Prejudicial FRE
                                                                              403; Not the basis
                                                                              of expert opinion
                                                                              FRE 702,703
   PX31     Article:  Proximal Humeral Migration in Shoulders with            Hearsay FRE 801,
            Symptomatic and Asymptomatic Rotator Cuff Tears, J Bone Joint     802, 803;
            Surg Am. 2009 Jun 1; 91(6): 1405-1413                             Relevance FRE
                                                                              401, 402;
                                                                              Prejudicial FRE
                                                                              403; Not the basis
                                                                              of expert opinion
                                                                              FRE 702,703
   PX32     Article: Post-Traumatic Osteoarthritis: Improved Understanding    Hearsay FRE 801,
            And Opportunities For Early Intervention; J. Orthop Res. 2011     802, 803;
            Jun: 29(6): 802-809                                               Relevance FRE
                                                                              401, 402;
                                                                              Prejudicial FRE
                                                                              403; Not the basis
                                                                              of expert opinion
                                                                              FRE 702,703
   PX33     Transcript of video deposition of Mindy Phillips


          The following exhibits will be offered at trial by the Defendant.

   No.      Defendant’s Exhibits                                  Objection
   DX1      Med Center Records of 08-27-12
   DX2      Tulsa Neurospine records of 07-25-13 to 08-27-15
   DX3      Warren Clinic records of 09-14-12 through 07-02-13
   DX4      St. Francis Hospital MRI, cervical spine report and
            films of 04-26-13
   DX5      St. Francis Hospital physical therapy records; 09-01-
            12 – 08-07-13
   DX6      St. Francis Hospital EMG report of 08-07-13
   DX7      St. Francis Hospital cervical x-ray report and films
            of 07-25-13
   DX8      Envision Imaging cervical MRI report and films of
            05-20-15

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   DX9    Envision Imaging cervical x-rays and films of 05-20-
          15
   DX10   Transcript of examination under oath of Marilyn Hearsay FRE 803; Cumulative
          Phillips taken 12-23-15                              as the transcript is 119 pages
                                                               and Ms. Phillips will testify live
                                                               at trial; FRE 403; Rule 32
                                                               FRCP (not a deposition)
   DX11   Neurological Center of Oklahoma EMG report of 08-
          17-15
   DX12   St. Francis Hospital records; 09-01-12 – 08-07-13
   DX13   Oklahoma Surgical Hospital records; 07-01-14 – 11-
          05-14
   DX14   Tulsa Bone & Joint Associates records; 09-13-16 –
          04-11-18
   DX15   Records of the Eye Institute; 09-08-13 – 12-01-17
   DX16   Records of Surgery Works; 11-24-15
   DX17   Records of Ophthalmology Consultants; 02-04-16 –
          08-23-16
   DX18   Records of Pinnacle Specialty Hospital; 02-10-16
   DX19   Records of Tulsa Dermatology Clinic; 04-25-14 –
          04-11-18
   DX20   Records of Union Pine Surgery Center; 09-14-16 –
          11-28-16
   DX21   Withdrawn
   DX22   Case Control Study of the Effect of Mechanical
          Trauma on the Ricks of Herpes Zoster by S.L.
          Thomas, J.G. Wheeler and Andrew J. Hall, published
          in the British Journal of Medicine on January 23,
          2014
   DX23   Association of Physical Trauma With Rick of Herpes
          Zoster Among Medicare Beneficiaries in the United
          States, by John X. Zhang, et al., published in the
          Journal of Infectious Diseases, in 2013
   DX24   Psychological Stress As A Trigger For Herpes
          Zoster:     Might The Conventional Wisdom Be
          Wrong?, by Rafael Harpaz, et al., published in
          Clinical Infectious Diseases, in 2015
   DX25   Withdrawn
   DX26   Withdrawn
   DX27   Withdrawn
   DX28   Bixby Police Department Accident Report              Hearsay FRE 803; Relevance
                                                               FRE 401, 402; Prejudicial
                                                               effect outweighs probative
                                                               value; confuses the issues;
                                                               misleads the jury regarding the
                                                               nature and extent of Plaintiff’s

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                                                                   injuries; FRE 403; Contains
                                                                   inadmissible medical
                                                                   “opinions” of someone who is
                                                                   not qualified to give medical
                                                                   opinions; FRE 702
    DX29     Recorded interview of Marilyn Phillips dated Original              recording     never
             September 5, 2012                                     provided; FRE 1001 et. seq.;
                                                                   Lack of authentication FRE 901
                                                                   et seq; Hearsay FRE 803;
                                                                   Relevance FRE 401; 402.
                                                                   Misleads the jury as to the
                                                                   cause, nature and extent of
                                                                   Plaintiff’s    injuries;   more
                                                                   prejudicial than probative; FRE
                                                                   403
    DX30     Examination under oath of Dr. James A. Rodgers, Hearsay FRE 803; Cumulative
             M.D., on March 24, 2015                               FRE 403 (Dr. Rodgers’ video
                                                                   deposition will be played for
                                                                   jury); Rule 32 FRCP (not a
                                                                   deposition)
    DX31     Cervical MRI report dated April 26, 2013
    DX32     Rotator Cuff Changes in 8 Symptomatic Adults, by
             C. Milgrom, M.D., et al., published in the Journal of
             Bone and Joint Surgery
    DX33     Withdrawn
    DX34     Withdrawn
    DX35     Withdrawn
    DX36     Withdrawn
    DX37     Records of Central States Orthopedics/Advanced
             Orthopedics; 06-17-14 – 03-01-18
    DX38     Transcript of video deposition of Dr. James Rodgers

   X.      The following primary witnesses will be called:

   By the Plaintiff:

    Witness                     Description of Testimony
    Mindy Phillips              Ms. Phillips is Marilyn Phillips’ daughter. She will testify about
                                her mother’s physical and mental health before the August 2012
                                wreck compared to her physical and mental health after the August
                                2012 wreck. She will give examples of some of Marilyn Phillips’
                                physical limitations that she has observed. She will give examples
                                of mental pain and suffering of Marilyn Phillips that she has
                                observed.
    Kenney Phillips             Mr. Phillips is Marilyn Phillips’ husband. He will testify about his
                                wife’s physical and mental health before the August 2012 wreck

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                          compared to her physical and mental health after the August 2012
                          wreck. He will give examples of some of Marilyn Phillips’
                          physical limitations that he has observed. He will give examples of
                          mental pain and suffering of Marilyn Phillips that he has observed.
   Marilyn Phillips       Ms. Phillips will testify about her relevant personal background,
                          including education, work experience, family and medical
                          histories. She will testify about the wreck of August 27, 2012; all
                          the doctors she has been to and what they have done for her;
                          physical therapy; surgeries; shingles outbreak; why she thinks all
                          these injuries are related to the wreck; her physical pain and
                          suffering; mental pain and suffering; nature and extent of her
                          injuries; her impairment; loss of quality of life; loss of enjoyment
                          of life; physical limitations;
   Jeannie Mores          Ms. Mores is a massage therapist. She will testify about the
                          treatment she has provided Ms. Phillips and her observations of
                          Ms. Phillips’ physical and mental health and pain and suffering
   Dr. Jeff Fox           Dr. Fox is Marilyn’s treating shoulder surgeon. Dr. Fox will testify
                          via video deposition that Ms. Phillips was referred to him by Dr.
                          James Rodgers; that Dr. Fox took a history from Ms. Phillips;
                          examined Ms. Phillips’ shoulders and ordered an MRI. The MRI
                          showed a rotator cuff tear in each shoulder. Dr. Fox recommended
                          rotator cuff surgery on both shoulders and Ms. Phillips agreed.
                          Surgery was done in 2014. Physical therapy followed. Dr. Fox
                          released Ms. Phillips in 2015. Ms. Phillips followed up with Dr.
                          Fox in March 2018 and examined Ms. Phillips. X-rays revealed
                          slight proximal migration of the humeral head. Dr. Fox’s
                          assessment was pain in both shoulders. Dr. Fox will testify that Ms.
                          Phillips has arthritis in her shoulders but he does not think it is
                          related to the wreck. Dr. Fox will testify that the injuries to Ms.
                          Phillips’ shoulders were caused by the car wreck.
   Dr. David Mokhtee      Dr. Mokhtee is Ms. Phillips’ treating hand surgeon. Dr. Mokhtee
                          will testify via video deposition that Ms. Phillips was referred to
                          him by Dr. Rodgers. Dr. Mokhtee took a history from Ms. Phillips
                          and examined her hands. Ms. Phillips had a positive Phalen’s and
                          Tinel’s sign. Dr. Mokhtee reviewed the Electrodiagnostic studies
                          that had already been done and saw they demonstrated moderate
                          bilateral carpal tunnel syndrome. Dr. Mokhtee recommended
                          surgery on both hands. Surgery was done in 2016, right hand first
                          and then the left hand. Dr. Mokhtee saw Ms. Phillips in follow up
                          and released her in December 2016. Dr. Mokhtee will testify that
                          prepared a letter dated August 21, 2017 and stated he reviewed
                          medical records, sworn statement of Ms. Phillips and sworn
                          statement of Dr Rodgers. Based on all the information he was
                          provided, Dr. Mokhtee concluded that Ms. Phillips onset of carpal
                          tunnel was most likely due to bilateral hand and wrist soft tissue
                          trauma and swelling. Dr. Mokhtee will testify that Ms. Phillips did

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                          not have any symptoms of carpal tunnel before the wreck and that
                          it is not likely that Ms. Phillips’ carpal tunnel was brought on by
                          gardening. Dr. Mokhtee followed up with Ms. Phillips in March
                          2018 and found that Ms. Phillips had a trigger finger and arthritis,
                          but that Dr. Mokhtee felt like those problems were not related to
                          the wreck.
   Dr. Anthony Economou   Dr. Economou is Ms. Phillips’ treating eye surgeon. It is
                          anticipated that Dr. Economou will testify that Ms. Phillips was
                          referred to him in 2016 by Dr. J. Matthew Roberts, DO, because in
                          October 2015, Ms. Phillips had an outbreak of shingles on her face
                          that spread to her right eye, causing increased pressure in her right
                          eye. Dr. Economou will testify that he examined Ms. Phillips, took
                          a history from her and determined that Ms. Phillips needed surgery
                          to control the pressure in her eye. Dr. Economou will testify that
                          in his notes he indicates that the “zoster”, the shingles outbreak, is
                          secondary to stress. Dr. Economou did surgery on Ms. Phillips’
                          right eye and implanted a valve in her right eye to control the
                          pressure. The implant is permanent. Ms. Phillips will need to take
                          certain medications to treat this problem for the rest of her life. Dr.
                          Economou will testify that it is widely accepted that shingles is
                          most common in people who have weak immune systems because
                          of stress, injury, and certain medicines. Dr. Economou will testify
                          that it is plausible that stress secondary to a motor vehicle accident
                          decreased Ms. Phillips’ immune system, which activated her
                          herpes zoster.
   Dr. Richard Hastings   Dr. Hastings is the Plaintiff’s medical expert. Dr. Hastings will
                          testify that he has examined Ms. Phillips twice, once in 2016 and
                          again in 2018. Dr. Hastings conducted a thorough physical
                          examination of Ms. Phillips that included range of motion testing
                          in her neck, upper and lower back, hands and shoulders. Dr.
                          Hastings will testify that he has reviewed all the medical records of
                          the doctors and providers that Ms. Phillips has seen since her 2012
                          wreck. Dr. Hastings will testify that he has reviewed the deposition
                          testimony of Dr. Rodgers, Dr. Mokhtee and Dr. Fox. Dr. Hastings
                          will testify that he has reviewed medical literature.

                          Based on all of that, Dr. Hastings will testify that Ms. Phillips has
                          the following problems that were a direct result of the wreck:
                          Persistent and ongoing neck pain and spasm with stiffness and
                          limited motion;
                          Persistent aching, pain and discomfort and limited mobility of her
                          right shoulder;
                          Persistent aching, pain and discomfort and limited mobility of her
                          left shoulder;
                          Blurred vision right eye with discomfort and dryness;
                          Mid-back pain with limited range of motion;


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                          Low back pain with limited range of motion that is increased with
                          activity;
                          Pain, decreased grip strength and limited range of motion in her
                          right hand;
                          Pain, decreased grip strength and limited range of motion in her left
                          hand;
                          Droopy and swollen right eyelid.

                          Dr. Hastings will testify that Ms. Phillips has the following
                          permanent injury and disability:
                          1. 24% impairment to the whole person for the neck less 4% for
                             pre-existing conditions, for a net of 20% impairment;
                          2. 32% impairment to the whole person for injury to the right
                             shoulder;
                          3. 32% impairment to the whole person for injury to the left
                             shoulder;
                          4. 40% impairment to the right hand/wrist;
                          5. 40% impairment to the left hand/wrist;
                          6. 19% impairment to the thoracic spine less 4% for pre-existing
                             conditions, for a net of 15% impairment;
                          7. 23.5% impairment to the whole person as a result of loss of
                             vision in the right eye.

                          Dr. Hastings will testify that Ms. Phillips will need future medical
                          treatment including follow up visits to Dr. Economou and
                          medication to treat the eye problem; MRI arthrogram of the
                          shoulder to evaluate the humeral head migration shown on recent
                          x-rays and follow up with an orthopedic surgeon; yearly
                          examination for the next 5 years by a neurosurgeon to evaluate
                          neck and back injury.

   By the Defendant:

    Dr. James Rodgers     Dr. Rodgers is Marilyn Phillips treating doctor. Dr. Rodgers will
                          testify via video deposition. He will testify that he first saw Marilyn
                          Phillips on July 25, 2013. On that day she gave a history that she
                          had developed some numbness in the left hand five weeks after the
                          automobile accident. The physical examination revealed evidence
                          of a possible carpal tunnel syndrome. Dr. Rodgers will testify that
                          he cannot state to a certainty that the wreck was the cause of Ms.
                          Phillips’ carpal tunnel syndrome due to the length of time between
                          the wreck and the development of her symptoms. When Dr.
                          Rodgers learned that it was actually four months between the wreck
                          and the development of her symptoms, he had even less reason to
                          relate the carpal tunnel syndrome to the wreck. Dr. Rodgers
                          referred Ms. Phillips to Dr. David Mokhtee for testing and treatment


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                                   of her carpal tunnel syndrome. Dr. Rodgers referred Ms. Phillips to
                                   Dr. Jeff Fox for testing and treatment in regard to the injury to her
                                   shoulders. Dr. Rodgers will testify that he found no evidence of
                                   cervical radiculopathy or objective evidence of injury to the cervical
                                   spine. Testing has revealed degenerative changes in the cervical
                                   spine. Dr. Rodgers will testify that he does not recommend that she
                                   undergo a cervical surgery.
    James Hutton, M.D.             Dr. Hutton is the former Chairman of the Division of Infectious
                                   Disease at the University of Oklahoma. He was retained by the
                                   Defendant to provide expert opinion regarding Ms. Phillips’
                                   outbreak of herpes zoster (shingles). Dr. Hutton has reviewed the
                                   Plaintiff’s medical records. He will testify about the findings of
                                   studies of the effects of trauma and psychological stress as a trigger
                                   for the development of herpes zoster. Dr. Hutton will testify that
                                   Ms. Phillips’ shingles condition is not related to the automobile
                                   accident.


   XI.    The following secondary witnesses might be called: None

   XII.   The possibility of settlement of this case has been explored with the following results:

   Parties attended pre-suit mediation in early 2017 and the case did not settle. On June 1, 2018, the

   parties attended a Judicial Settlement Conference. The case did not settle. At this point, there is

   no possibility of settlement.

   XIII. The foregoing admissions having been made by the parties, and the parties having

   specified the foregoing issues of fact and law remaining to be litigated, this order shall

   supersede the pleadings and govern the course of the trial of this cause, unless modified to

   prevent manifest injustice.

   XIV. The parties anticipate the estimated total trial time to be 3 days.

          Dated this 5th day of April, 2019.




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   Approved as to form and content:

   s/Anthony M. Laizure
   Attorney for Plaintiff

   s/Robert Taylor_______
   Attorney for Defendant




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